DOCUMENTS UNDER SEAL
                     Case 4:19-mj-71192-MRGDClearDocument
                                                  Form    2 Filed 08/07/19 Page 19 of
                                                             TOTAL TIME (m ins):
                                                                                      1
                                                                                   mins.
M AGISTRATE JUDGE                          DEPUTY CLERK                              REPORTER/FTR
M INUTE ORDER                              Ivy Lerma Garcia                          10:56-11:05
MAGISTRATE JUDGE                           DATE                                      NEW CASE          CASE NUMBER
DONNA M. RYU                               8/7/19                                                     4-19-71192-MAG
                                                     APPEARANCES
DEFENDANT                                   AGE    CUST    P/NP       ATTORNEY FOR DEFENDANT               PD.  RET.
                                                 AGENT'S P                          (Prov. Apptd. 4/4/19) APPT.
HENRY JOVANY SEVILLA SEVILLA                        YES             John Paul Reichmuth
U.S. ATTORNEY                               INTERPRETER                         FIN. AFFT                COUNSEL APPT'D
Samantha Schott for Sailaja Paidipaty      Ines Swaney (Spanish Int.)           SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR               PARTIAL PAYMENT
                             Victoria Gibson                          APPT'D COUNSEL                 OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR              PRELIM HRG      MOTION           JUGM'T & SENTG                               STATUS
      HELD 8 mins.                                                                                               TRIAL SET
       I.D. COUNSEL                ARRAIGNMENT             BOND HEARING              IA REV PROB. or             OTHER
      HELD 1 min.                                                                    or S/R
       DETENTION HRG               ID / REMOV HRG          CHANGE PLEA              PROB. REVOC.                 ATTY APPT
                                                                                                                 HEARING
                                                     INITIAL APPEARANCE
        ADVISED                  ADVISED                  NAME AS CHARGED              TRUE NAME:
        OF RIGHTS                OF CHARGES               IS TRUE NAME
                                                        ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON               READING W AIVED               W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT                 SUBSTANCE
                                                         RELEASE
      RELEASED            ISSUED                     AMT OF SECURITY         SPECIAL NOTES                    PASSPORT
      ON O/R              APPEARANCE BOND            $                                                        SURRENDERED
                                                                                                              DATE:
PROPERTY TO BE POSTED                           CORPORATE SECURITY                        REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                 DETAINED         RELEASED         DETENTION HEARING                REMANDED
      FOR             SERVICES                                                   AND FORMAL FINDINGS              TO CUSTODY
      DETENTION       REPORT                                                     W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                             PLEA
    CONSENT                      NOT GUILTY                 GUILTY                    GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                  CHANGE OF PLEA             PLEA AGREEMENT            OTHER:
    REPORT ORDERED                                          FILED
                                                        CONTINUANCE
TO:                               ATTY APPT                BOND                     STATUS RE:                 STATUS
8/30/19                           HEARING                  HEARING                  CONSENT                    TRIAL SET
                                                           STATUS RE:
AT:                               SUBMIT FINAN.            PRELIMINARY              CHANGE OF                  OTHER
                                  AFFIDAVIT                HEARING                  PLEA
10:30 a.m.                                                    OR
                                                           _____________
BEFORE HON.                       DETENTION                ARRAIGNMENT              MOTIONS                    JUDGMENT &
                                  HEARING                                                                      SENTENCING
D. M. RYU
       TIME W AIVED               TIME EXCLUDABLE      IDENTITY /                   PRETRIAL                   PROB/SUP REV.
       RE: RULE 5.1               UNDER 18 § USC       REMOVAL                      CONFERENCE                 HEARING
                                  3161 FROM 8/7/19     HEARING
                                  TO 8/30/19
                                               ADDITIONAL PROCEEDINGS
Deft. reserved his right to have his Detention Hrg. at a later date should any of his circumstances change.
cc: DMR's Files; Pret. Svcs.

                                                                                          DOCUMENT NUMBER:
